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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

LEONARD E. SCHEUER,

             Plaintiff,                        Case No. 2:14-cv-13903
V.                                             Hon. Arthur J. Tarnow
                                               Magistrate Judge David R. Grand
SCHNEIDERMAN & SHERMAN,
P.C.,

             Defendant.

        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties, through their undersigned counsel, stipulate and agree, that the above-

captioned action be dismissed with prejudice. The parties further agree that each

side shall bear their own attorney’s fees and costs.

      IT IS SO ORDERED.

                                       s/Arthur J. Tarnow
                                       Hon. Arthur J. Tarnow
Entered: March 13, 2015

Stipulated and Agreed: March 12, 2015

/s/ Brian P. Parker (w/ consent)               /s/ Charity A. Olson
Brian P. Parker (P48617)                       Charity A. Olson (P68295)
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